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1                                UNITED STATES DISTRICT COURT

2                                       DISTRICT OF NEVADA

3      MARK ALAN SPADT,
4                                                         3:19-cv-0343-MMD-CLB
                                      Plaintiff,
5         v.
                                                          ORDER
6      WICKHAM, et al.,
7
                                 Defendants.
8

9           The Office of the Attorney General did not accept service of process on behalf of

10   Michael Peabody who is no longer an employee of the Nevada Department of Corrections

11   (ECF No. 18). However, the Attorney General has filed the last known address of this

12   defendant under seal (ECF No. 19). If plaintiff wishes to have the U.S. Marshal attempt

13   service on this defendant, he shall follow the instructions contained in this order.

14          The Clerk shall ISSUE a summons for the above-named defendant and send the

15   same to the U.S. Marshal with the address provided under seal (ECF No. 19). The Clerk

16   shall also SEND sufficient copies of the complaint (ECF No. 9), the screening order (ECF

17   No. 8), and this order to the U.S. Marshal for service on the defendant. The Clerk shall

18   SEND to plaintiff one USM-285 form. Plaintiff shall have until Friday, November 6, 2020,

19   to complete the USM-285 service form and return it to the U.S. Marshal, 400 South Virginia

20   Street, 2nd Floor, Reno, Nevada 89501.

21          If plaintiff fails to follow this order, the above-named defendant will be dismissed for

22   failure to complete service of process pursuant to Fed.R.Civ.P. 4(m).

23            October 19, 2020
     DATED: __________________

24                                                 ______________________________________
                                                   UNITED STATES MAGISTRATE JUDGE
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